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23                     UNITED STATES DISTRICT COURT
24                   SOUTHERN DISTRICT OF CALIFORNIA
25
26 VLAD ZAMFIR                      Case No. 3:21-cv-00474-TWR-AHG
27                    Plaintiff,    NOTICE OF MOTION AND MOTION TO
                                    FILE SECOND AMENDED COMPLAINT
28
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 1        v.
                                      Hearing Date: May 5, 2022
 2
                                      Time: 1:30 p.m.
 3 CASPERLABS, LLC,                   Courtroom: 3A
                                      Judge: Hon. Todd W. Robinson
 4                      Defendant.
                                      Magistrate: Hon. Allison H. Goddard
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                                      Original Complaint Filed: March 17, 2021
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                                      Trial Date: Not Yet Set
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               NOTICE OF MOTION AND MOTION TO FILE SECOND AMENDED COMPLAINT
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         NOTICE IS HEREBY GIVEN pursuant to Rule 15(a) of the Federal Rules of
 3 Civil Procedure that on May 5, 2022, at 1:30 p.m. in Courtroom 3A of the Edward J.
 4 Schwartz United States Courthouse, located at 221 West Broadway, San Diego,
 5 California 92101, Plaintiff Vlad Zamfir (“Zamfir”) will, and hereby does, move for
 6 an order granting Zamfir leave to file a Second Amended Complaint for Trademark
 7 Infringement; False Designation of Origin; Unfair Competition; Trademark
 8 Cancellation; Fraud by Intentional Misrepresentation; and California Bus. & Prof.
 9 Code § 17200 Unfair Competition (“Second Amended Complaint”) against
10 Defendant CasperLabs, LLC (“CasperLabs”) (hereinafter the “Motion”).
11         The Motion seeks an order granting Zamfir leave to file a Second Amended
12 Complaint on the grounds that: (1) the balance of relevant interests weighs in favor of
13 granting leave to amend; and (2) the proposed Second Amended Complaint furthers
14 judicial economy.
15         Pursuant the Section III(A)(1) of the Court’s Standing Order For Civil Cases
16 the parties met and conferred in good faith in an to attempt to resolve the issue, but
17 were unable to do so.
18         The Motion will be based upon:
19         1.    This Notice of Motion and Motion;
20         2.    The MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
21               OF MOTION FOR LEAVE TO FILE SECOND AMENDED
22               COMPLAINT submitted herewith;
23         3.    The DECLARATION OF DAVID P. ENZMINGER IN SUPPORT OF
24               PLAINTIFF’S MOTION FOR LEAVE TO FILE SECOND AMENDED
25               COMPLAINT (with exhibits) submitted herewith;
26         4.    any cross-motion, opposition, reply, surreply, or supplemental papers
27               submitted in connection with the Motion;
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                NOTICE OF MOTION AND MOTION TO FILE SECOND AMENDED COMPLAINT
                                  Case No. 3:21-cv-00474-TWR-AHG
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 1        5.    any proposed orders, tentative rulings, orders, or ruling filed or entered in
 2              connection with the Motion;
 3        6.    the pleadings, papers, or orders filed, served, and/or entered, and the
 4              proceedings to date, in this action;
 5        7.    proof of service of the foregoing pleadings, papers and orders;
 6        8.    any matters of which the Court may or must take judicial notice;
 7        9.    the comments and arguments of counsel and any evidence submitted at
 8              any oral hearing conducted in connection with the Motion; and
 9        10. such and other further matters as are just and proper.
10
11 Dated: March 8, 2022                By: /s/ Christopher Ott
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22                                           Attorneys for Plaintiff Vlad Zamfir

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               NOTICE OF MOTION AND MOTION TO FILE SECOND AMENDED COMPLAINT
                                 Case No. 3:21-cv-00474-TWR-AHG
